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+ VIA ECF +


October 23, 2024


Hon. Lawrence J. Vilardo, U.S.D.J.
Robert H. Jackson United States Courthouse
2 Niagara Square
Buffalo, New York 14202

       Re:     In re Athenex, Inc. Securities Litigation, No. 1:21-cv-00337-LJV-HKS

Dear Judge Vilardo:

        Plaintiff in the above-captioned action writes this letter to provide the Court with a recent
stipulation entered in the related bankruptcy proceeding involving Athenex, Inc. (see Exhibit A
hereto) and to inform the Court that pursuant to that stipulation, Plaintiff now “has the right to
recover against Athenex, Inc., limited to and solely to the extent of available insurance.” See
Exhibit A at 4, ¶3.

       Accordingly, Plaintiff requests that this Court lift this action’s stay against Athenex (ECF
No. 70).

       Thank you for your attention to this matter.

                                              Respectfully submitted,

                                              /s /Deborah Clark-Weintraub

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